

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,822






EX PARTE RAYMOND JACKSON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


		CAUSE NO. W83-95875-U 


		IN THE 291ST DISTRICT COURT FROM DALLAS COUNTY





	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated sexual
assault and sentenced to ninety-nine years' imprisonment.  The Fifth Court of Appeals affirmed his
conviction. Jackson v. State, No. 05-84-00097-CR (Tex. App.-Dallas, delivered May 2, 1985, pet.
ref'd).  	

	Applicant contends that he has newly discovered evidence that he is actually innocent of this
offense. The trial court has determined that no rational jury would have convicted Applicant in light
of the new evidence, which was previously unavailable to Applicant. The evidence, obtained
pursuant to post-conviction DNA testing and investigation, indicates that it was another individual,
and not Applicant, who committed this offense. Applicant is actually innocent of this offense and
is therefore entitled to relief. Ex parte Elizondo, 947 S.W.2d 202, 209 (Tex. Crim. App. 1996). 

	Relief is granted. The judgment in Cause No. F83-95875-U in the 291st District Court of
Dallas County is set aside, and Applicant is remanded to the custody of the Sheriff of Dallas County
to answer the charge against him.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Parole Division.


Delivered: June 20, 2012

Do Not Publish


